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 5
                             UNITED STATES DISTRICT COURT
 6
                           EASTERN DISTRICT OF WASHINGTON
 7
 8 UNITED STATES OF AMERICA,                            No. 2:14-CR-021-RMP-10
 9
                Plaintiff,                              ORDER GRANTING IN PART
10
   vs.                                                  AND DENYING IN PART
11                                                      DEFENDANT’S MOTION TO
12 SAMUEL G. WARD,                                      TEMPORARILY REMOVE
                                                        ELECTRONIC HOME
13                        Defendant.                    MONITORING AND TO EXTEND
14                                                      CURFEW
15
16          Before the Court is Defendant’s Motion for Temporary Removal of
17   Electronic Monitoring Device and Modification of Curfew.                 ECF No. 735.
18   Defendant seeks removal of the EHM device so he can report to Benton County
19   Jail to serve a sentence, as well as modification of his curfew.
20          Removal of the EHM device is necessary for the Defendant to comply with
21   the order of the Benton County District Court, and the United States Probation
22   Office has no objection to modification of curfew. The United State does not
23   object to removal of the EHM, provided it is resumed immediately upon his release
24   from Benton County Jail.
25          The United States objects to Defendant’s request to modify his curfew.
26   Defendant’s supervising U.S. Probation Officer has no objection to modification of
27   his curfew, if it is left to her discretion.
28          The Court finds temporary removal of the EHM device is necessary. In



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 1   addition, the Court finds Defendant has not provided a reason to justify changing
 2   his curfew as it now stands. Accordingly,
 3         IT IS ORDERED:
 4         1.    Defendant’s    Motion   for     Temporary        Removal   of   Electronic
 5   Monitoring Device, ECF No. 773, is GRANTED. Defendant’s EHM device shall
 6   temporarily be removed to allow him to serve his Benton County Jail sentence.
 7   Defendant shall coordinate with the U.S. Probation Office for removal of the
 8   EHM, but no sooner than July 21, 2014. The EHM shall be replaced no later than
 9   July 24, 2014.
10         2.    Defendant’s request to modify his curfew is DENIED.
11         DATED July 17, 2014.
12
13                           S/ VICTOR E. BIANCHINI
                        UNITED STATES MAGISTRATE JUDGE
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     ORDER - 2
